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                            No. 21-2325


         IN THE UNITED STATES COURT OF APPEALS
                FOR THE SEVENTH CIRCUIT
                 ______________________________

                   SAINT ANTHONY HOSPITAL,
                       Plaintiff-Appellant,

                                 v.

    THERESA EAGLESON, in her official capacity as Director of the
       Illinois Department of Healthcare and Family Services,
                         Defendant-Appellee.
                   ______________________________

       On Remand from the Supreme Court of the United States

                   ______________________________

     SAINT ANTHONY HOSPITAL’S SUPPLEMENTAL BRIEF
     PURSUANT TO COURT’S ORDER OF OCTOBER 16, 2023
               ______________________________




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                                      Introduction

         The Court’s Order of October 16, 2023, directed Saint Anthony Hospital (“Saint

Anthony” or the “Hospital”) to “file a supplemental brief” to address “the appropriate

disposition of this case at this point.” (Dkt. 90.) This Court should rule as the

majority did in July 2022 (the “Original Ruling”) (Dkt. 60) finding: (1) an individual

right to sue Theresa Eagleson in her official capacity as director of the Illinois

Department of Healthcare and Family Services (“HFS”) to enforce the timely

payment requirements of 42 U.S.C. § 1396u-2(f) (the “Timely Payment Provision”),

and (2) that Saint Anthony should be permitted to file its Supplemental Complaint

in the district court (as it has done in the interim). As shown below, Health and

Hospital Corporation of Marion County v. Talevski, 599 U.S. 166 (2023) (“Talevski”)

affects neither the outcome of the Original Ruling nor the rationale on which it was

based.

         In view of the extensive prior briefing and prior opinions of the panel, plus the

parties’ Rule 54 briefing (the “Statements”), this Supplemental Brief focuses on the

Original Ruling, and the impact (or not) on the Original Ruling of Talevski. As

directed by the Court, we do not address issues of arbitrability, except to the extent

necessary to address arguments by HFS concerning the asserted incompatibility of

an individual right to sue HFS with the contractual rights upon which many of HFS’s

arguments rely. We focus on HFS’s Rule 54 Statement (Dkt. 87) because HFS asked

for this supplemental briefing. We assume, therefore, that the arguments in its

Statement are arguments on which it will rely in this round of briefing. We refer to
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prior briefing where appropriate to avoid repetition, and use the same terms and

abbreviations used in Saint Anthony’s Statement (Dkt. 89), except we refer to the

Supreme Court’s Talevski decision as “Talevski” and not as “Talevski II.”

                  Issues Discussed in this Supplemental Brief

      Only one issue is in dispute for purposes of this Supplemental Brief: Whether

Talevski should change the Original Ruling that Saint Anthony is entitled to bring

an individual claim against HFS to enforce the Timely Payment Provision of the

Medicaid laws, 42 U.S.C. § 1396u-2(f). Subsumed within this issue is whether, and

to what extent, the Original Ruling’s application of the three factors identified in

Blessing v. Freestone, 520 U.S. 329 (1997), remains relevant.       As shown below,

Talevski does not change the outcome or reasoning of the Original Ruling, and

Blessing remains relevant. The Original Ruling’s analysis of the Timely Payment

Provision should be reinstated, with modifications to acknowledge Talevski’s

confirmation of the legal principles upon which the Original Ruling was based.

      The Original Ruling also decided that Saint Anthony should be permitted to

file its Supplemental Complaint in the district court and affirmed dismissal of Saint

Anthony’s claim brought under 42 U.S.C. § 1396a(a)(8). Those issues were not part

of HFS’s Petition for Certiorari, the parties did not discuss them in their Statements,

nor are they discussed in Talevski. Therefore, they are not addressed in this brief.

The portions of the Original Ruling on those issues should be reinstated without

substantial revision. (Saint Anthony believes its claim under Section 1396a(a)(8) was

properly stated, but it has not sought further review of the issue. Thus, like the




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Court’s unchallenged ruling granting Saint Anthony leave to file its Supplemental

Complaint, the Section 1396a(a)(8) ruling also should remain.)

                     Background and Standard of Review

      The background to this case after remand from the Supreme Court—including

the nature of the case and the prior rulings—is described in Saint Anthony’s

Statement at 1-3. The standard of review after a court of appeals issues a decision

that the Supreme Court vacates, and remands for further proceedings in light of a

subsequent Supreme Court decision, is described in Saint Anthony’s Statement at 3.

     The Original Ruling Correctly Upheld the Timely Payment Claim

      In a detailed analysis that spans many pages of the Federal Reporter, the

Original Ruling carefully considered and applied the relevant Supreme Court and

Seventh Circuit case law and statutory language. Based on that review, it concluded

that when Congress enacted the Timely Payment Provision it intended that

individual Medicaid providers like Saint Anthony be entitled to sue state agencies

entrusted with implementing Medicaid to require them to remedy systemic violations

of that requirement. See Saint Anthony Hosp. v. Eagleson, 40 F.4th 492, 505-13 (7th

Cir. 2022). That analysis remains correct. Whether the Court applies Blessing or

Talevski, or both, the result is the same—Saint Anthony is entitled to sue HFS to

require it to address systemic non-compliance with the Timely Payment Provision.

The Original Ruling’s extensive reliance on Gonzaga University v. Doe, 536 U.S. 273

(2002), was also correct, and remains appropriate after Talevski.




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A.    The Standard for Determining if
      Blessing Has Been Overruled.

      Before we address the relevance of Talevski to the Original Ruling, a

preliminary issue needs to be addressed. HFS argued in its Statement that the

Original Ruling “applied Blessing, not Gonzaga,” and “[t]hat alone was error.” HFS

Statement at 5. Saint Anthony disagrees.

      First, HFS’s predicate is incorrect. The Original Ruling did apply Gonzaga. It

applied both precedents and did not discard one in favor of the other. 40 F.4th at 502-

03. It cited Gonzaga over ten times and discussed in detail its application to the

Timely Payment Provision.      See id. at 506 (regarding the first Blessing factor,

contrasting the statutory language in Gonzaga with that at issue in this case). The

Original Ruling concluded (id. at 507):

      Because the statutory provisions [in Gonzaga] did not have an
      individualized focus, they failed Blessing factor one: “[The] provisions
      further speak only in terms of institutional policy and practice, not
      individual instances of disclosure. Therefore, as in Blessing, they have
      an ‘aggregate’ focus, they are not concerned with ‘whether the needs of
      any particular person have been satisfied,’ and they cannot ‘give rise to
      individual rights.’” Gonzaga, 536 U.S. at 287-88, 122 S.Ct.
      2268 (internal citation omitted), quoting Blessing, 520 U.S. at 343-
      44, 117 S.Ct. 1353.

      Second, neither Talevski nor any other Supreme Court decision has overruled

Blessing, or said that it is no longer good law. Nor has the Supreme Court stated that

courts should disregard Blessing.

      Only HFS appears to believe that Talevski overruled Blessing—apparently by

implication, since the majority and concurring opinions contain no express statement

overruling or even criticizing it. Since June 2002, when the Supreme Court decided



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Gonzaga, it has cited Blessing in five other majority or plurality opinions, including

Talevski, without suggesting it is not good law. Two Supreme Court opinions cite

Blessing on grounds not relevant here.1 Two others, and now Talevski as well, cite

Blessing for the principle—also stated in the Original Ruling—that no individual

right can be enforced if Congress included in the statute its own incompatible

enforcement scheme. See City of Rancho Palos Verdes, Cal. v. Abrams, 544 U.S. 113,

120 (2005); Vega v. Tekoh, 597 U.S. __, 142 S.Ct. 2095, 2106 n.6 (2022) (quoting City

of Rancho Palos Verdes, in turn quoting Blessing). Two federal district court

decisions decided since Talevski cite both Blessing and Talevski without any

suggestion that Blessing is no longer good law.2

      This Court has addressed the standard for determining whether one case

overrules another by implication: it must follow a Supreme Court decision unless “the




1    See Turner v. Rogers, 564 U.S. 431, 444 (2011) and Domino’s Pizza, Inc. v.
McDonald, 546 U.S. 470, 476 n.3 (2006)

2      Jackson v. Seifried, No. CV2017410GCJBD, 2023 WL 4627815, at *4 (D.N.J.
Jul. 19, 2023), found that another Medicaid provision, 42 U.S.C. § 1396n(c)(2)(A),
confers an individual right to sue. It relied upon a 2020 Sixth Circuit decision
applying the Blessing factors to this same provision and finding an individual
right. Jackson also cited Talevski as finding an individual right to sue. The opinion
contained no suggestion that Talevski changed the Blessing analysis.

       United States v. Freestone, No. 8:23-CR-25-VMC-AEP, 2023 WL 4824481, at *1
(M.D. Fla. Jul. 27, 2023), applies the Blessing factors, but not in the context of a
§ 1983 action. Freestone was a criminal case alleging violation of 18 U.S.C. § 241,
which makes it a crime to conspire to prevent someone from exercising a federal
right. The court applied the Blessing factors to find that the federal statute at issue
conferred an individual right. Therefore, the indictment sufficiently stated a charge
of conspiracy against rights under 18 U.S.C. § 241. The opinion also cited Talevski.



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lower court is certain or almost certain that the decision or doctrine would be rejected

by the higher court if a case presenting the issue came before it.” Olson v. Paine,

Webber, Jackson & Curtis, Inc., 806 F.2d 731, 741 (7th Cir. 1986). This Court added:

      This is a high standard and will rarely be met. Any looser standard,
      however, would unsettle the law. The expansion of the federal courts
      makes it more rather than less important that lower courts respect the
      authority of higher ones in order to maintain a minimum of coherence
      in the law.

Id. Talevski presented the opportunity for the Supreme Court to overrule Blessing.

Indeed, the dissent by Justice Alito, joined only by Justice Thomas, urged such a

conclusion. See 599 U.S. at 230-31. The seven other Justices declined the invitation.

Thus, under the controlling law, it is proper for this Court to continue to apply

Blessing.   As Saint Anthony shows below, however, whether this Court applies

Blessing, or only Talevski, the result is the same: Saint Anthony has the right to sue

HFS to enforce the Timely Payment Provision.

B.    The Original Ruling Is Consistent with Talevski.

      A comparison of how the Original Ruling applied the three Blessing factors

with the reasoning of the Supreme Court in Talevski makes clear that there is no

inconsistency. The Original Ruling correctly described the three Blessing factors,

which might be summarized as plaintiff benefit, clear right, and binding obligation:

      First, Congress must have intended that the provision in question
      benefit the plaintiff. Second, the plaintiff must demonstrate that the
      right assertedly protected by the statute is not so “vague and
      amorphous” that its enforcement would strain judicial competence.
      Third, the statute must unambiguously impose a binding obligation on
      the States. In other words, the provision giving rise to the asserted right
      must be couched in mandatory, rather than precatory, terms.




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40 F.4th at 503 (quoting Talevski v. Health & Hospital Corp. of Marion County,

6 F.4th 713, 717 (7th Cir. 2021)). In Talevski the Supreme Court did not reject the

relevance of any of the three.

      Focus on individual rights. The Supreme Court in Talevski stated that the

statutory provisions must be “‘phrased in terms of the persons benefited’ and

contain[] ‘rights-creating,’ individual-centric language with an ‘unmistakable focus

on the benefited class.’” 599 U.S at 183 (citing Gonzaga, 536 U.S. at 284, 287). The

Court’s analysis of whether the statute at issue did so was extensive. See, e.g., 599

U.S. at 185 (“[T]he statute’s caveats remain focused on individual residents” and

“[t]he exceptions to the advance-notice requirement, too, turn (inter alia) on the

‘resident’s health,’ [and] the ‘resident’s urgent medical needs.’”).

      There is no inconsistency between these statements in Talevski and the

application of the first Blessing factor in the Original Ruling. The Original Ruling

described the task at hand in terms nearly identical to Talevski:

      Congress must have “intended to create a federal right,” [citation], and
      “the statute ‘must be phrased in terms of the persons benefited’ with ‘an
      unmistakable focus on the benefited class.’” [citation]

40 F.4th at 502-03 (quoting Gonzaga, 536 U.S. at 283 and Planned Parenthood of

Indiana, Inc. v. Comm’r of Indiana State Dep’t of Health, 699 F.3d 962, 973 (7th Cir.

2012)). Then, based on a detailed analysis of Section u-2(f)’s text under Blessing’s

first factor, this Court concluded that “Congress intended section 1396u‐2(f) to benefit

providers like Saint Anthony and . . . intended that benefit to be a right, as distinct

from a generalized entitlement.”       40 F.4th at 505.     Whether labelled as under




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Blessing’s first factor, Gonzaga, Talevski, or all three, the analysis supporting the

Original Ruling’s conclusion remains correct.

      The standard announced in Talevski/Gonzaga (the statutory provisions must

be “‘phrased in terms of the persons benefited’ and contain[] ‘rights-creating,’

individual-centric language with an ‘unmistakable focus on the benefited class.’”

Talevski, 599 U.S. at 183 (quoting Gonzaga, 536 U.S. at 284, 287), is best understood

as reformulating Blessing factors 1-2 into a single statement that captures the

plaintiff benefit and clear right factors. The Talevski/Gonzaga reformulation clarifies

that the Blessing standard requires the court to find that Congress granted a “right”

and not just a “benefit” since, as Gonzaga noted, some courts had been “confus[ed]”

about the reference to “benefit[s]” in Blessing (even though Blessing also says

Congress must have created “rights” to generate an individual right to sue). Gonzaga,

536 U.S. at 282-83. Gonzaga resolved this “confusion” by “reject[ing] the notion that

our cases permit anything short of an unambiguously conferred right to support a

cause of action brought under § 1983.” Id. at 283. The Original Ruling correctly

applied the standard stated in Gonzaga, using the Blessing factors “[t]o aid in this

analysis.” 40 F.4th at 503.

      Not vague or amorphous.         Talevski did not use the phrase “vague or

amorphous” with regard to the statute at issue. But its description of the statutory

language made clear that the Court applied the requirement:

      The first [statutory provision at issue] requires nursing facilities to
      “protect and promote” residents’ “right to be free from . . . any physical
      or chemical restraints imposed for purposes of discipline or convenience
      and not required to treat the resident’s medical symptoms.” [ . . . .] The



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      second [statutory requirement] . . . tells nursing facilities that they
      “must not transfer or discharge [a] resident” unless certain enumerated
      preconditions, including advance notice of such a transfer or discharge,
      are met.

Talevski, 599 U.S. at 181-82.

      [The statutory] provision tells nursing facilities that they must not
      transfer or discharge a resident unless certain preconditions are met,
      including advance notice of the transfer or discharge to the resident and
      his or her family.

Id. at 185 (cleaned up; emphasis in original).

      The unnecessary-restraint and predischarge-notice provisions use clear
      rights-creating language, speak in terms of the persons benefited, and
      have an unmistakable focus on the benefited class.

Id. at 186 (cleaned up). Thus, by reciting the specific and detailed provisions of the

statute, Talevski applied the functional equivalent of the not-vague-or-amorphous

requirement of Blessing.

      Binding obligation. Although the claim in Talevski was against a private

nursing home and not directly against the State, the Supreme Court still confirmed

that the nursing home’s obligations under the statute were binding and mandatory:

“these two provisions also establish who it is that must respect and honor these

statutory rights; namely, the Medicaid-participant nursing homes in which these

residents reside.” 599 U.S. at 185 (emphasis added). See also id. at 181 (quoting

statutory text: “[r]equirements relating to residents’ rights”) (emphasis added); id. at

182 (same: “must not transfer or discharge”) (emphasis added). The claim against

the nursing home in Talevski was brought under § 1983 on the ground that the




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nursing home was an agent of the State. There was nothing in Talevski to indicate

any disagreement with this element of prior § 1983 case law.

      This Court relied on the same Blessing-factor analysis in deciding the

underlying Court of Appeals opinion that the Supreme Court affirmed in Talevski.

See 6 F.4th at 717-20. Nowhere does Talevski hold or even suggest that this Court

erred in that case by applying the three Blessing factors. Nor does it imply that this

Court erred by doing the same thing in the Original Ruling here.

      Moreover, application of the three Blessing factors was only the beginning of

the Original Ruling’s analysis. Like Talevski, the Original Ruling also examined the

statute to determine whether it contained a remedial scheme incompatible with an

individual right to sue.    This was entirely consistent with Talevski and other

precedent. The Original Ruling stated:

      If these three [Blessing] factors are satisfied, the right is presumptively
      enforceable under section 1983. The defendant may overcome this
      presumption by demonstrating that Congress shut the door to private
      enforcement. Congress may foreclose a remedy under section 1983
      either expressly, through specific evidence from the statute itself, or
      impliedly, by creating a comprehensive enforcement scheme that is
      incompatible with individual enforcement under § 1983.

40 F.4th at 503 (cleaned up).     That statement is essentially the same as these

statements in Talevski:

      Even if a statutory provision unambiguously secures rights, a defendant
      may defeat the presumption by demonstrating that Congress did not
      intend that § 1983 be available to enforce those rights.

                                          ***

      [T]he sine qua non of a finding that Congress implicitly intended to
      preclude a private right of action under § 1983 is incompatibility



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      between enforcement under § 1983 and the enforcement scheme that
      Congress has enacted.

599 U.S. at 186-87 (cleaned up). As shown in Section D, below, the Original Ruling

correctly applied the law to conclude that Congress did not create a comprehensive

enforcement scheme incompatible with individual enforcement of the Timely

Payment Provision. That ruling is fully consistent with and supported by Talevski.

C.    HFS’s Description of the Original Ruling Is Incomplete and
      Misleading.

      Although HFS’s Statement strives to find an incompatibility between the

Original Ruling and the prior case law, which Talevski followed, there is none. That

is hardly surprising. HFS’s application of Talevski to the Original Ruling mirrors its

prior briefing on appeal and its unsuccessful rehearing petition. HFS’s Statement

deployed Talevski for a second attempt at rehearing, even though Talevski did not

alter the legal landscape. Although this requires retreading old ground, we address

HFS’s arguments.

      HFS’s Statement largely ignores what the Original Ruling actually said. In

this Section, we discuss HFS’s incomplete version, and what the actual Original

Ruling said in finding that the Timely Payment Provision is presumptively

enforceable under § 1983. In Section D below, we address HFS’s incomplete and

misleading discussion of the Original Ruling’s finding that Congress did not foreclose

a remedy under § 1983.

      HFS never discusses most of the specific statutory language that the Original

Ruling carefully analyzed in reaching its conclusion that Congress intended that




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providers could enforce the Timely Payment Provision against HFS. Instead, HFS

asserts that the statutory language at issue in Talevski was clear, but the Timely

Payment Provision is not—with no reference to most of the statutory language the

Original Ruling analyzed. HFS Statement at 7. Indeed, HFS refers to the statutory

language as having a “textual silence concerning the duty” to pay providers on time.

Id. at 9. If HFS thinks there is a “textual silence” it could only be because it is not

listening. The Original Ruling focused on each of the following components of the

statute:

      First, the Original Ruling focused on the actual language of Section u-2(f), and

other sections to which it refers, to conclude that providers were the intended

beneficiaries of the Section.   It focused on language whose plain meaning HFS

ignores, and that HFS’s Statement never mentions. According to the Original Ruling,

“[t]he text requires MCOs to contract that they ‘shall make payment to health care

providers . . . on a timely basis.”    40 F.4th at 505 (underscoring added).       The

underscored language is the first and most important element of the statute. It is not

found in HFS’s Statement.

      Second, the Original Ruling noted that Section u-2(f) “cross-references section

1396a(a)(37)(A), which requires that states pay ‘practitioners’ on the 30/90 pay

schedule.” 40 F.4th at 505. When Section u-2(f) states that payment to providers

shall be made “on a timely basis consistent with the claims payment procedures

described in section 1396a(a)(37)(A) . . .” the Original Ruling concluded that Congress

meant to apply the 30/90-day schedule to “providers,” not simply to a subset,




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“practitioners.” Id. HFS had argued that the Timely Payment Provision only applied

to practitioners. The Original Ruling rejected that argument. Id. (HFS appears to

have abandoned the argument, as it is not mentioned in its Statement.)

      Third, the Original Ruling gave weight to an additional factor HFS does not

mention—Section u-2(f) was part of the Balanced Budget Act of 1997, in a section

titled “Assuring Timeliness of Provider Payments.” The Original Ruling noted that

this language “signals that Congress intended section 1396u-2(f) to assure, i.e., to

guarantee, timely payment to providers.” 40 F.4th at 505-06.

      Fourth, another part of the statutory language that HFS never mentions, but

that the Original Ruling found relevant, is a portion of the American Recovery and

Reinvestment Act of 2009. See Pub. L. No. 111-5, 123 Stat. 115, § 5006(d) (2009).

The Original Ruling found that Act relevant to Congress’ intention expressed in

Section u-2(f) because Congress—in the body of the enacted statutory text—explained

what it meant when it enacted Section u-2(f) twelve years earlier. The 2009 Act

provided special rules for “Indian enrollees, Indian health care providers, and Indian

managed care entities.” It cross-referenced Section u-2(f) and described that Section

as the “rule for prompt payment of providers.” The Original Ruling quoted this

language. 40 F.4th at 506. HFS ignores it—not surprisingly, because there is no

answer to its persuasive force. Rarely does Congress tell you in a later enactment

what it meant by a prior enactment.

      Fifth, the Original Ruling explained that Section u-2(f) states that the 30/90-

day payment requirement shall apply “unless the health care provider and the




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[Managed Care] organization agree to an alternate payment schedule.” 40 F.4th at

507. Based on this language, the Original Ruling reasoned that “the focus [of this

provision] is on the individual provider” and “not on whether MCOs in the aggregate

substantially comply with the timely payment requirement.” Id.

      Sixth, the Original Ruling focused on separate provisions of the Medicaid Act

that impose reporting and oversight obligations on the States, and describe actions

that the States can take in the case of non-compliance by MCOs. The Original Ruling

concluded that “[t]he more coherent reading of the statute as a whole is that Congress

intended the State to engage in these reporting and oversight responsibilities, and if

it becomes evident that MCOs are systematically not paying providers on a timely

basis, then the State would have an obligation to act under section 1396u-2(f) to

secure providers’ rights.” Id. at 510.

      Although HFS ignores most of these provisions that the Original Ruling

considered, it does address and misreads the fifth one. HFS claims that this provider-

specific exemption from the 30/90-day payment requirements is “no different from

the individual consent exception to schools’ privacy obligations under the statute at

issue in Gonzaga, which the Court held was insufficient to confer individual rights.”

HFS Statement at 11.       The Original Ruling addressed this issue at length—a

discussion to which HFS makes no reference. In that discussion, the Original Ruling

explained that the Court in Gonzaga had focused on the fact that “the Secretary of

Education could take away funds only if the university did not substantially comply

with the statutory requirements. This fact contributed to the understanding that the




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focus was on systemwide performance rather than individual instances of improper

disclosure.” 40 F.4th at 507. The Original Ruling went on to explain and distinguish

the Timely Payment Provision:

      The opposite is true here. Section 1396u-2(f) is concerned with whether
      the needs of particular persons and entities—providers like Saint
      Anthony—have been satisfied. The statutory text specifies that the
      State “shall provide” that MCOs “shall make payment to health care
      providers . . . on a timely basis.” 42 U.S.C. § 1396u-2(f). The focus of
      section 1396u-2(f) is not “two steps removed” from the interest of
      providers. Its focus is directly on the interest Saint Anthony asserts
      here: ensuring that providers receive timely payment from MCOs. And
      the provision is not concerned only with whether MCOs in the aggregate
      pay providers on the 30/90 pay schedule, but whether individual
      providers are receiving the payments in the timeframe promised.

40 F.4th at 507. HFS’s Statement simply ignores this discussion.

      Finally, as to the sixth component of the statutory language discussed by the

Original Ruling—the monitoring and reporting obligations that the statute imposes

upon the State—HFS argues that they are consistent with its view that all that

Congress intended was that States include the Timely Payment Provision in the

State’s contracts with the MCOs, not that HFS do anything to enforce the

requirement. HFS Statement at 11.

      As the Original Ruling noted, “[i]n HFS’s view, nothing in section 1396u-2(f)

requires the State itself do anything more to ensure prompt payment.” 40 F.4th at

508. HFS does not dispute that description of its position, then and now. Instead, it

says that HFS might do something if it chooses to, and refers to the fact that HFS put

CountyCare, one of the MCOs, on an improvement plan after the MCO diverted funds

intended to pay providers to cover Cook County budget gaps. HFS Statement at 17.




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HFS does not mention that it only took action after CMS, the federal agency with

oversight for Medicaid, became involved.3 HFS does not explain what is wrong with

the Original Ruling’s reasoning that the more coherent view of the monitoring and

data-gathering duties that Congress imposed on HFS is that they evidence Congress’

intent that HFS has the duty to do something with the data after learning from them

that MCOs are not complying with the Timely Payment Provision.

      HFS also incorrectly asserts that because Congress required inclusion of the

Timely Payment Provision in the State Medicaid Plan that HFS must promulgate

under federal law, Congress’ intention is ambiguous, and cannot give rise to

individual rights. HFS Statement at 8. The fact that Congress required inclusion of

the Timely Payment Provision in the State Plan does not create ambiguity, because

inclusion in the Plan is entirely consistent with individual enforcement, for all the

reasons discussed by the Original Ruling and summarized above and in the next

section. Indeed, it would have been strange if Congress, which enacted a clear timely

payment policy to grant providers rights, had not also required the State to include

that provision in the State’s Medicaid Plan.

      HFS cites Graham County Soil & Water Conservation District vs. United States

ex rel. Wilson, 545 U.S. 409, 419 (2005), in support of its erroneous argument that “a

court may find a statute unambiguous only if no other meaning is ‘plausible.’” HFS

Statement at 8. HFS’s assertion is not the law, and is definitely not what Graham



3 See R86-1 at Exhibits I and J-2, which may be considered because they illustrate

the allegations in the Complaint. Geinosky v. City of Chicago, 675 F.3d 743, 745 n.1
(7th Cir. 2012). Compare R86-1 at Exhibits I and J-2 with R1:¶¶51, 72, 75.


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County said or suggested. It did not purport to set any litmus test for determining

whether or not a statute was ambiguous, let alone the test HFS asserts. It dealt with

how to interpret a statute of limitations, and began its analysis with its conclusion

that the provision was ambiguous.       See 545 U.S. at 415 (“Section 3731(b)(1) is

ambiguous, rather than clear[.]”).      Nor did the Court say that a statute is

unambiguous when only one reading is plausible. Statutes may be subject to more

than one plausible interpretation, but the rules of construction permit a court to

determine the meaning to be given to the statutory language. That is what occurred

in Graham County, as the Court stated: “where, as the case is here, there are two

plausible constructions of a statute of limitations, we should adopt the construction

that starts the time limit running when the cause of action . . . accrues.” Id. at 419.

      Moreover, the Original Ruling considered and rejected HFS’s ambiguity

argument. It first rejected HFS’s reading of the statute, finding that, in light of

statutory text it discussed at length, Section u-2(f)’s “mandatory language, coupled

with [HFS’s] additional oversight and reporting responsibilities, supports the reading

that section 1396u‐2(f) must be doing more than imposing merely the formality of

contract language.” 40 F.4th at 510 (emphasis added). The Original Ruling then

turned to the “ambiguity” argument, explaining that Pennhurst State School &

Hospital v. Halderman, 451 U.S. 1, 17 (1981), “taught that Congress can impose

conditions on grants of federal money only if it does so ‘unambiguously’ and ‘with a

clear voice.’” 40 F.4th at 510. That means that “States cannot knowingly accept

conditions of which they are ‘unaware’ or which they are ‘unable to ascertain.’” Id. at




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510 (quoting Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 296

(2006), in turn quoting Pennhurst, 451 U.S. at 17). The required clarity must be

viewed “‘from the perspective of a state official . . . deciding whether the State should

accept [Medicaid] funds and the obligations that go with those funds.’” 40 F.4th at

511 (quoting Arlington Cent., 548 U.S. at 296). Applying that unchallenged rule of

law to the text of Section u-2(f), the Original Ruling held:

      Such an official would not reasonably have concluded that Congress
      intended that the “rule for prompt payment of providers” would be only
      a proverbial paper tiger. See § 1396u-2(h)(2)(B) (describing section
      1396u-2(f) as the “rule for prompt payment of providers”). That position
      conflicts with the State’s oversight and reporting obligations and its
      enforcement duties under the Medicaid Act.

40 F.4th at 511 (emphasis added).

      Thus, the Original Ruling accurately followed Pennhurst and its progeny to

find that HFS’s alternative interpretation “conflicts” with the statutory scheme. Id.

That the Original Ruling did not use the specific words “unambiguous” or “not

plausible” does not change its clear holding.

      HFS also misstates the remedies that the Original Ruling indicated might be

appropriate at a later stage of this case. HFS asserts that the Original Ruling “give[s]

the plaintiff the right to force the State to take enforcement action against someone

else.” HFS Statement at 11. It added that “courts are also very reluctant to interpret

statutes to allow private control over discretionary enforcement decisions by public

officials.” Id. at 12. But the Original Ruling did not authorize “private control over

discretionary enforcement” or anything like it. And the private actor here, or in any

like case, controls nothing. It is a petitioner, not a dictator. Saint Anthony merely



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has the right to petition Article III judges to enforce a statutory provision with

remedies the law permits, subject to equitable discretion and appellate review. That

basic reality underlies what the Original Ruling actually said with regard to such

relief, which HFS disregards—that it was very doubtful the district court would be

entitled to force HFS to cancel an MCO’s contract with the State. 40 F.4th at 511

(“we doubt the district court has authority to impose” that remedy). As for HFS’s

other worst-case imaginings, the Court said that they “can be addressed if and when

it [the need to do so] actually arises and matters.” Id.

         Indeed, the Original Ruling made clear that HFS retained discretion, but not

the discretion to do nothing whatsoever in the face of systemic violations of the Timely

Payment Provision:

         HFS can take other steps at the system level to address chronic late
         and/or short payments by MCOs. Those actions would neither force the
         State to cancel an MCO contract nor turn the district court into a claims
         processor. If Saint Anthony can prove its claims of systemic delay and/or
         underpayment, we are confident that the district court could craft
         injunctive relief to require HFS to do something to take effective action.

40 F.4th at 512. The Original Ruling supported this conclusion by citing a prior

decision requiring HFS to take action, O.B. v. Norwood , 838 F.3d 837, 842 (7th Cir.

2016).     There the Court stated, in affirming a preliminary injunction, that the

injunction “should be understood simply as a first cut: as insisting that the State do

something rather than nothing to provide in-home nursing care for these children.”

Id. HFS does not mention O.B.




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D.    The Original Ruling Was Correct that
      an Individual Right to Sue Is Not
      Incompatible with a Statutory Remedy.

      HFS argues that even if Congress intended that the Timely Payment Provision

provide individual rights, “enforcement would be inconsistent with the contract-based

enforcement scheme that section u-2(f) expressly establishes.” HFS Statement at 12.

That scheme, according to HFS, consists of HFS’s contract right to direct MCOs to

enforce compliance, and the providers’ right to sue the MCOs, or bring arbitrations

against those with arbitration agreements. Id. at 14.

      Before discussing why HFS is wrong, it bears repeating that Talevski did not

change the law regarding this factor, which has long been part of holdings in the lines

of cases in the Supreme Court and this Court. HFS’s arguments are, in reality, a

renewed petition for rehearing.

      And they remain wrong for reasons the Original Ruling explained in detail,

but with which HFS does not come to grips. As the Court explained in Talevski,

applying precedents it did not alter and that this Court applied in the Original

Ruling, when a court reads a statute as granting individual rights, it must also

determine whether Congress created its own enforcement scheme that is

incompatible with individual enforcement:

      Even if a statutory provision unambiguously secures rights, a defendant
      may defeat the presumption by demonstrating that Congress did not
      intend that § 1983 be available to enforce those rights. For evidence of
      such intent, we have looked to the statute creating the right. A statute
      could, of course, expressly forbid § 1983’s use. Absent such a sign, a
      defendant must show that Congress issued the same command
      implicitly, by creating a comprehensive enforcement scheme that is




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       incompatible with individual enforcement under § 1983. Only the latter
       path is at issue here.

599 U.S. at 186 (cleaned up). The Original Ruling applied the same standard. It

stated:

       HFS can rebut this presumption [that Congress intended to allow
       individual enforcement] by “showing that Congress specifically
       foreclosed a remedy under § 1983 . . . expressly, through specific
       evidence from the statute itself, or impliedly, by creating a
       comprehensive enforcement scheme that is incompatible with individual
       enforcement under § 1983[.]” Id. (alteration and omission in original),
       quoting Gonzaga, 536 U.S. at 284 n.4, 122 S.Ct. 2268. HFS has not
       identified any express language in the Medicaid Act foreclosing private
       rights enforcement. HFS relies instead on the implicit approach, which
       is a “difficult showing.” Blessing, 520 U.S. at 346, 117 S.Ct. 1353.

40 F.4th at 514.

       The Original Ruling has already considered and rejected HFS’s argument that

providers could sue MCOs to obtain timely payment, finding that remedy was not a

“carefully tailored scheme” in the statute that foreclosed private enforcement. Id. It

cited Gonzaga for that standard: “we are not persuaded that Congress, implicitly

through the contractual model, created “a comprehensive enforcement scheme that

is incompatible with individual enforcement under [§ 1983].” Id. at 515.

       HFS argues that this conclusion is wrong for several reasons.       Each was

correctly rejected by the Original Ruling, except for one, which HFS had not raised,

and it fails as well.

       (i)    A remedy does not eliminate HFS discretion. HFS argues that “giving

providers a right to force States to ensure timely payments by MCOs would eliminate

[HFS’s] discretion, and thus defeat a central aspect of the enforcement scheme based

on contract rights that Congress specifically established.” HFS Statement at 17. We


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have already discussed this argument. See supra at 18-19. Providers cannot “force”

anything, and the Original Ruling concluded that HFS retains discretion, but not the

discretion it claims—to do nothing whatsoever in the face of systemic violations of the

Timely Payment Provision. A court can require it to do something, while allowing

HFS appropriate discretion, as courts often do in fashioning remedies against

governmental bodies. E.g., O.B., 838 F.3d at 842.

      (ii)    A remedy would not require individual proof of breaches of the Timely

Payment Provision. HFS argues that any § 1983 claim by a provider against a state

under Section u-2(f) would depend on proof that an MCO breached the timely

payment provision in its contract with the provider. HFS Statement at 18. Not so.

As the Original Ruling stated, Congress requires HFS to gather evidence of MCO

performance and monitor that performance. 40 F.4th at 509. It is required to gather

the very information needed to determine compliance with the Timely Payment

Provision: “Section 1396u-2(c)(2)(A)(i) further specifies that a state’s contract with an

MCO must provide for an ‘annual (as appropriate) external independent review’ of

the ‘timeliness’ of MCO ‘services for which the organization is responsible,’ including

payments.” Id. The Medicaid law does not require HFS to engage in individual

adjudications with MCOs to determine individual breaches of duty. The MCOs are

obligated to report the relevant data to HFS and HFS is obligated to audit and

monitor MCO performance.

      (iii)   The district court would not be enmeshed in hundreds of individual

disputes. Relatedly, HFS argues that the district court would have to “adjudicate the




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breach-of-contract claim between the provider and the MCO, involving potentially

hundreds of sub-disputes.” HFS Statement at 18. This argument is wrong for the

same reasons as the previous one, and the Original Ruling correctly rejected it. It

agreed that “requiring the district court to adjudicate issues at the claim-by-claim

level, would strain judicial resources and seem to conflict with the arbitration clauses

in the contracts between the MCOs and Saint Anthony.” 40 F.4th at 511-12. But it

concluded, correctly, that such claim-by-claim adjudication would not be necessary to

take systemic remedial actions:

      These two limits on remedies in a section 1983 action do not persuade us,
      however, that we should affirm dismissal on the theory that the State has no
      duty at all to ensure timely payment under section 1396u-2(f). HFS can take
      other steps at the system level to address chronic late and/or short payments
      by MCOs. Those actions would neither force the State to cancel an MCO
      contract nor turn the district court into a claims processor.

Id. at 512.

      (iv)    Arbitration clauses do not overcome the presumption. HFS argues that

if an MCO had an arbitration agreement with the provider “the district court could

not resolve the provider’s section u-2(f) claim in derogation of the MCO’s arbitration

rights.” HFS Statement at 19. But the steps that HFS can take “at the system level

to address chronic late and/or short payments by MCOs,” 40 F.4th at 512, are not

subject to any arbitration agreement between HFS and the MCOs. Indeed, Illinois

law prohibits any arbitration agreement between HFS and the MCOs or anyone else,

see 705 ILCS 505/8(b), so the MCOs have no right or basis to rely on an arbitration

limitation if HFS takes actions against them under its discretionary authority. And

because HFS can do so without engaging in “claims processor” litigation between



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providers and MCOs, 40 F.4th at 512, the arbitration agreements found in some (but

not all) contracts between providers and MCOs don’t come into play.

      (v)    Necessary parties. HFS states in passing, for the first time, that the

MCOs are necessary parties. HFS Statement at 18. HFS has never asked to join the

MCOs as necessary parties, nor ever argued—even now—that they cannot be joined

or that, if they couldn’t, the case cannot proceed in their absence. Nor does their

status under Rule 19 have any bearing on whether Saint Anthony has the right to

privately enforce Section u-2(f). Rather, whether the MCOs are “necessary” parties

or not, and whether they are joined or not, Saint Anthony has the right to bring its

claims against HFS. The MCOs do not need to be parties to this lawsuit to generate

relief against HFS.

      The MCOs all entered into contracts with HFS incorporating their duty under

the Medicaid law to provide HFS information to determine whether they are paying

providers on a timely basis. They also knew from the Medicaid law that HFS could

take action against them if they did not perform properly—indeed, HFS touts that

right, and the Original Ruling focused on one of the relevant provisions: “The

Medicaid Act further specifies actions a state can take when an MCO underperforms.”

40 F.4th at 509 (citing § 1396u-2(e)). Thus, as part of the quid pro quo for managing

the multi-billion-dollar Medicaid payment process, and getting to keep as profit much

of what does not get paid to providers, the MCOs agreed to be subject to HFS

oversight and direction under federal requirements. That included their obligations

under the Timely Payment Provision. HFS is not required to join them in this lawsuit




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or sue them separately to cause their compliance with these obligations. It has other

substantial tools short of litigation to generate compliance.

         This lawsuit is about HFS’s failure to address systemic problems in the MCO

system. Those problems can be identified because Saint Anthony can show that it

was not paid on a timely basis from its records. If HFS wishes, it can require MCOs

to provide their data by request or subpoena. HFS should have (and in any case can

obtain) all necessary data from the MCOs under their statutory and contractual

duties to HFS. While HFS is entitled to ask MCOs for their views on the need for

systemic remedies, no finding in this case that systemic remedies are needed will bind

any individual MCO in any separate, individual payment disputes with Saint

Anthony. This lawsuit is against HFS to obtain systemic remedies for systemic

problems, not to adjudicate individual claims against individual MCOs.

         Unable to explain how providers’ or HFS’s contractual rights against MCOs

foreclose individual enforcement under § 1983, HFS mischaracterizes the Original

Ruling as incorrectly relying on “the supposed superiority of section 1983 enforcement

over the contract rights that section u-2(f) expressly contemplates.” HFS Statement

at 14.    The Original Ruling did not rely on the supposed superiority of § 1983

enforcement. The Original Ruling’s only reference to “superior” differs from what

HFS suggests:

         It’s not immediately obvious that this [contract-based] dispute-
         resolution system would even be manageable, let alone superior to a
         systemic solution implemented by HFS. At the very least, we are not
         persuaded that Congress, implicitly through the contractual model,
         created “a comprehensive enforcement scheme that is incompatible with




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      individual enforcement under [§ 1983].” Gonzaga, 536 U.S. at 285 n.4.,
      122 S.Ct. 2268.

40 F.4th at 515.

      HFS’s “superiority” argument misses the principle that this Court applied in

the Original Ruling and Talevski fully affirmed: Congress must indicate that the

alternative remedial scheme is the exclusive remedy in order to displace private

enforcement. See Talevski, 599 U.S. at 187 (“The crucial consideration is whether

Congress intended a statute’s remedial scheme to be the exclusive avenue through

which a plaintiff may assert [his] claims.”) (cleaned up); cf., 40 F.4th at 514 (“HFS

can rebut this presumption by ‘showing that Congress specifically foreclosed a remedy

under § 1983 . . . expressly, through specific evidence from the statute itself, or

impliedly, by creating a comprehensive enforcement scheme that is incompatible with

individual enforcement under § 1983[.]’”) (quoting Talevski, 6 F.4th at 720, in turn

quoting Gonzaga, 536 U.S. at 284 n.4) (emphasis added).             Whether or not an

alternative remedy is “superior,” private enforcement is not foreclosed unless

Congress intended the alternative remedial scheme be the exclusive remedy.

                                     Conclusion

      The Court should reaffirm the conclusions reached in the Original Ruling.

Nothing in Talevski altered the law in any way to require, or even suggest, a change

in the outcome. Rather, Talevski vindicated this Court’s rulings in that case—and by

implication in this one, since this Court relied on its Talevski decision in the Original

Ruling.




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       Saint Anthony should be allowed to pursue its claims for what the Original

Ruling accurately described as “systemic failures by MCOs to comply with the 30/90

payment schedule with reasonably transparent payment information.” 40 F.4th at

513.



Dated: November 6, 2023             Respectfully submitted,

                                    SAINT ANTHONY HOSPITAL

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        I hereby certify that this brief complies with the type-volume limitations of

Federal Rule of Appellate Procedure 32(a)(7)(A) because it contains fewer than 30

pages. This brief also complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and Circuit Rule 32(b) because it has been prepared in

a proportionally spaced typeface (12-point Century Schoolbook) using Microsoft

Word.

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                   CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on November 6, 2023, I electronically filed this brief with

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